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                                                                 FILED: November 28, 2011


                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT


                                        ___________________

                                            No. 07-4059 (L)
                                        (8:04-cr-00235-RWT-3)
                                        ___________________

        UNITED STATES OF AMERICA

                       Plaintiff - Appellee

        v.

        LEARLEY REED GOODWIN, a/k/a Goodie, a/k/a Lonnie Ross

                       Defendant - Appellant

                                        ___________________

                                              No. 07-4060
                                        (8:04-cr-00235-RWT-1)
                                        ___________________

        UNITED STATES OF AMERICA

                       Plaintiff - Appellee

        v.

        PAULETTE MARTIN, a/k/a Paulette Murphy, a/k/a Paulette Akuffo, a/k/a Paula
        Murphy, a/k/a Auntie

                       Defendant - Appellant
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                                        ___________________

                                             No. 07-4062
                                       (8:04-cr-00235-RWT-10)
                                        ___________________

        UNITED STATES OF AMERICA

                       Plaintiff - Appellee

        v.

        LANORA N. ALI, a/k/a La Nora Ali-Gardner

                       Defendant - Appellant

                                        ___________________

                                              No. 07-4080
                                        (8:04-cr-00235-RWT-7)
                                        ___________________

        UNITED STATES OF AMERICA

                       Plaintiff - Appellee

        v.

        DERREK LEWIS BYNUM, a/k/a Bo

                       Defendant - Appellant

                                        ___________________

                                              No. 07-4115
                                        (8:04-cr-00235-RWT-9)
                                        ___________________

        UNITED STATES OF AMERICA
Appeal: 07-4059     Document: 365     Date Filed: 11/28/2011   Page: 3 of 3
                  Case 8:04-cr-00235-DKC Document 1478 Filed 11/28/11 Page 3 of 3



                       Plaintiff - Appellee

        v.

        LAVON DOBIE, a/k/a Becky Parker, a/k/a Theresa Waller, a/k/a Dobie Parker

                       Defendant - Appellant

                                        ___________________

                                           MANDATE
                                        ___________________

              The judgment of this court, entered November 2, 2011, takes effect today.

              This constitutes the formal mandate of this court issued pursuant to Rule

        41(a) of the Federal Rules of Appellate Procedure.


                                                                  /s/Patricia S. Connor, Clerk
